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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,                    )
                                              )
 Plaintiff,                                   )
                                              )
 v.                                           )      No. 99-cr-30117-DRH
                                              )
 FINLEY MCCOY, JR.,                           )
                                              )
 Defendant.                                   )


                                       ORDER

 HERNDON, Chief Judge:

       This matter is before the Court on motion to continue the revocation

 hearing (Doc. 135), due to defense counsel’s need for additional time to prepare

 for a contested hearing. The Court finds that a continuance is in the interests of

 justice, and consequently the Court GRANTS the motion and continues the

 revocation hearing from May 12, 2011 at 2:00 p.m. to the 2nd day of June, 2011,

 at 10:00 a.m.


       IT IS SO ORDERED.                                         Digitally signed by
                                                                 David R. Herndon
       Signed this 10th day of May, 2011.                        Date: 2011.05.10
                                                                 16:20:58 -05'00'
                                              Chief Judge
                                              United States District Court
